            Case 1:21-mc-00543-PKC Document 1 Filed 07/23/21 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re Application of

 FOURWORLD EVENT OPPORTUNITIES, LP
 and GENESIS EMERGING MARKETS
 INVESTMENT COMPANY
                                                       Case No. 21-
 Petitioners, for an Order Pursuant to 28 U.S.C.
 § 1782 to Conduct Discovery for Use in a Foreign
 Proceeding.




         EX PARTE APPLICATION FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782
           TO CONDUCT DISCOVERY FOR USE IN A FOREIGN PROCEEDING

       1.      FourWorld Event Opportunities, LP and Genesis Emerging Markets Investment

Company (“Petitioners”) respectfully request an order in the form attached hereto permitting

Petitioners to obtain limited discovery under 28 U.S.C. § 1782 (“Section 1782”) in connection

with an appraisal proceeding pending before the Grand Court of the Cayman Islands (the

“Appraisal Proceeding”), to which Petitioners are parties.           In support of its application,

Petitioners submit a Memorandum of Law and attach the Declarations of Duane Loft, Marc Kish,

and Justice Ingrid Mangatal. Petitioners further state as follows:

       2.      Petitioners seek the assistance of this Court to obtain discovery from General

Atlantic LLC (“GA LLC”), General Atlantic Service Company, L.P., GASF Interholdco Ltd.

(“GASF Interholdco”), General Atlantic Partners (Bermuda) III, LP (“GAP III”), General

Atlantic Partners (Bermuda) IV LP (“GAP IV”), Inc., GAP Coinvestments CDA LP (“GAPCO

CDA”), GAP Coinvestments III LLC (“GAPCO III”), GAP Coinvestments IV LLC (“GAPCO

IV”), GAP Coinvestments V LLC (“GAPCO V”), GAP (Bermuda) Ltd. (“GAPB”), General

Atlantic GenPar (Bermuda) LP (“GA GenPar”), General Atlantic Singapore Fund Pte. Ltd.
             Case 1:21-mc-00543-PKC Document 1 Filed 07/23/21 Page 2 of 4




(“GASF”), General Atlantic Singapore 58 Pte. Ltd. (“GAS 58”), and General Atlantic Singapore

58TP Pte. Ltd. (“GAS 58TP,” and, together, “General Atlantic); Warburg Pincus LLC (“WP

LLC”), Warburg Pincus China-Southeast Asia II (Cayman) LP (“WP Asia II”), Warburg Pincus

China-Southeast Asia II-E (Cayman) LP (“WP Asia II-E”), WP China-Southeast Asia II Partners

(Cayman) LP (“WP Asia II Partners”), Warburg Pincus China-Southeast Asia II Partners LP

(“Warburg Asia II Partners”), Warburg Pincus (Callisto) Global Growth (Cayman) LP (“WP

Callisto”), Warburg Pincus (Europa) Global Growth (Cayman) LP (“WP Europa”), Warburg

Pincus Global Growth-B (Cayman) LP (“WPGB”), Warburg Pincus Global Growth-E (Cayman)

LP (“WPGE”), WP Global Growth Partners (Cayman) LP (“WPG Partners”), Warburg Pincus

Global Growth Partners (Cayman) LP (“Warburg Growth Partners”), and Polarite Gem

Holdings Group, Ltd. (“Polarite” and, together, “Warburg Pincus”) (collectively,

“Respondents”).

        3.      Respondents are “found” for purposes of Section 1782 in this District. Petitioners’

narrowly tailored requests (the “Requests”) are set forth in the subpoenas attached as Exhibits 1–

25 to the Loft Declaration and relate to the fair value of the shares of the company 58.com

(“58.com” or the “Company”), held by Petitioners, and the process leading to the squeeze-out of

the Company’s minority shareholders. As set forth in the accompanying declarations, the

discovery cannot be obtained in the underlying Appraisal Proceeding, but the presiding Cayman

Islands court will be highly receptive to evidence sought here and assistance from this Court.

        4.      Section 1782 permits litigants in foreign proceedings to obtain discovery in the

United States to assist in the foreign litigation. In particular, § 1782 states:

                The district court of the district in which a person resides or is found may
                order him to give his testimony or statement or to produce a document or
                other thing for use in a proceeding in a foreign or international tribunal,
                including criminal investigations conducted before formal accusation. The
            Case 1:21-mc-00543-PKC Document 1 Filed 07/23/21 Page 3 of 4




               order may be made . . . upon the application of any interested person and
               may direct that the testimony or statement be given, or the document or
               other thing be produced, before a person appointed by the court.
       5.      The statutory requirements of § 1782 are satisfied here. As explained in the

accompanying submissions, (1) the Respondents are “found” in this District because they maintain

their principal place of business in New York City, (2) the discovery sought is to be used in the

Appraisal Proceeding, and (3) Petitioners are “interested person(s)” in that proceeding.

       6.      This application also meets the discretionary factors of Section 1782, as explained

further in the accompanying Memorandum of Law: (1) Respondents are not parties to the foreign

proceedings, (2) Cayman courts will be receptive to judicial assistance from a U.S. court, (3)

Petitioners are not attempting to circumvent foreign proof-gathering restrictions, and (4) the

discovery sought is not intrusive or burdensome. See Intel Corp. v. Advanced Micro Devices, Inc.,

542 U.S. 241 (2004).

       7.      Petitioners therefore respectfully request that this Court expeditiously grant its

application for an Order granting Petitioner leave to serve the Respondents with the subpoenas

attached as Exhibits 1–25 to the Loft Declaration.

       WHEREFORE, Petitioners respectfully request that this Court enter an Order:
               1.      Granting the application for discovery under 28 U.S.C. § 1782;

               2.      Authorizing Petitioners to take discovery from Respondents, by issuing the

       proposed subpoenas; and

               3.      Directing Respondents to comply with the subpoenas issued in this case in

       accordance with the Federal Rules of Civil Procedure and the Rules of this Court.


Dated: July 23, 2021
       New York, New York

                                                            By: /s/ Duane L. Loft
Case 1:21-mc-00543-PKC Document 1 Filed 07/23/21 Page 4 of 4




                                      Duane L. Loft
                                      Brianna S. Hills
                                      BOIES SCHILLER FLEXNER LLP
                                      55 Hudson Yards
                                      New York, NY 10001
                                      Telephone: (212) 446-2300
                                      Facsimile: (212) 446-2380
                                      dloft@bsfllp.com
                                      bhills@bsfllp.com

                                      Ira A. Schochet
                                      LABATON SUCHAROW LLP
                                      140 Broadway
                                      New York, NY 10005
                                      Telephone: (212) 907-0864
                                      ischochet@labaton.com
